      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 1 of 12


 1 DANIEL SHANLEY (021322)
   Email Address: dshanl~~deconsel.com
 2 DeCARLO & SHANLEY:'
   a Professional Corporation
 3 533 S. Fremont Avenue, Ninth Floor
   Los Angeles~ California 90071-1706
 4 Telephone (L13) 488-4100
   Telecopier (213) 488-4180
 5
   ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 6 ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
   FOR THE CARPENTERS SOUTHWEST TRUSTS
 7

 8                       UNITED STATES DISTRICT COURT
 9                                 DISTRICT OF ARIZONA
10
11
12   H K B Inc., an Arizona co~ation, doinf   CASE NO. 2:16-cv-03799-DJH
   business as SOUTHWEST           DUSTRIA
13 RIGGING
                                              DEFENDANTS' MOTION TO
14                    Plaintiff,              DISMISS PURSUANT TO FRCP
                                              12(b)(3), (6), (7), OR, IN THE
15 v.                                         ALTERNAtiVE, TO STAY ACTION

16 BOARD OF TRUSTEES FOR THE
   CARPENTERS SOUTHWEST
17   TRUSTSS erroneously sued as BOARD
     OF TRU TEES FOR THE
18   SOUTHWEST CARPENTER'S
     SOUTHWEST TRUST; CARPENTERS
19   SOUTHWEST ADMINISTRATIVE
     CORPO~TION, a California non-profit
20   corporation;
21                    Defendants.
22
23
24
25
26
27

28
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 2 of 12


 1         Defendants, BOARD OF TRUSTEES FOR THE CARPENTERS
 2   SOUTHWEST TRUSTS, erroneously sued as BOARD OF TRUSTEES FOR THE
 3   SOUTHWEST CARPENTER'S SOUTHWEST TRUSTS ("Board") , and
 4   CARPENTERS SOUTHWEST ADMINISTRATIVE CORPORATION ("CSAC",
 5   collectively referred to as "Defendants") hereby submit this Motion To Dismiss
 6   pursuant to FRCP 12(b)(3 ), (6), (7), or, in the Alternative, to Stay This Action.
 7   I.    INTRODUCTION
 8         Before filing this action, Plaintiff was already being sued by Defendants on
 9   the same contract it seeks to void here. On October 28, 2016 in the United States
10   District Court for the Central District of California, Defendant sued Plaintiff seeking
11   ERISA benefit contributions owed under the collective bargaining agreement
12 ("CBA") Plaintiff executed with the Southwest Regional Council of Carpenters
13 ("SWRCC") in 2013. Carpenters Southwest Administrative Corporation, et al v.
14 HK.B, Inc. et al, No. 2:16-cv-08040-MWF-SK (C.D. Cal. 2016) ("California case").
15 Plaintiff then filed this suit in Arizona asserting state law defenses to the same
16 CBA.
17         Plaintiffs suit should be stayed and/or dismissed on the following grounds:
18         (1)    It violates the Ninth Circuit's "first-to-file rule", which mandates
19         that the issues be heard in the California action. See All trade, Inc. v.
20         Uniweld Prods., 946 F.2d 622, 628 (9th Cir. 1991).
21         (2)    Plaintiff failed to join the SWRCC, a necessary party under
22         F.R.C.P. Rule 19 to any action seeking to void the contract it entered.
23         (3)    Plaintiffs state law contract claims are preempted by Section 301
24         of the Labor Management Relations Act, 29 U.S.C. § 185, because
25         federal law controls the interpretation of labor agreements. And,
26         (4)    The forum selection clause under the Trust Agreements mandate
27         all suits be filed in federal or state court in Los Angeles, California.
28         For any or all of these reasons, Plaintiffs suit should be stayed and/or

                                                1
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 3 of 12


 1   dismissed, and re-filed in the pending California action as a compulsory
 2   counter-claim.
 3   II.   STATEMENT OF FACTS
 4         Three years ago, on or about August 22, 20 13, Plaintiff signed a CBA with
 5   the SWRCC. The CBA requires:
 6      The Contractor agrees to comply with all the terms ... as set forth in the
        Agreement referred to as the Southern California Carpenters Master
 7      Labor Agreement between United General Contractors Association,
        Inc .... and the SWRCC and its affiliated Local Unions, United
 8      Brotherhood of Carpenters and Joiners of America, dated July 1, 2012,
        as well as the appropriate Master Agreements covering the States of
 9      Nevada, Arizona, ... and any extensions, renewals or subsequent Master
        Labor Agreements ...
10 CBA, ~1, Shanley Declaration, Exhibit 1.
11         Pursuant to the CBA, Plaintiff also became a signatory to the Southwest
12   Carpenters Health and Welfare Trust, the Southwest Carpenters Pension Trust, the
13   Southwest Carpenters Training Fund, and the Southwest Carpenters Vacation Trust,
14   along with any amendments to such agreements. Id.
15         Forum Selection Clauses are set forth in Article V, Section 3 of each of the
16   Trust Agreements. These provide that all lawsuits concerning the validity,
17   enforcement or interpretation of any provisions of the Trust Agreements or any of
18   the collective bargaining agreements with respect to payments due to the Trust
19   Funds are to be held in Los Angeles County, California. Shanley Dec., Ex. 2;
20   Watanabe Dec., ~2.
21         These Clauses, which have repeatedly been enforced, 1 were necessary
22   because the SWRCC has Agreements with thousands of employers in seven states
23   including: Southern California, Nevada, Arizona, New Mexico, Colorado, West
24
25         1
            See, e.g. Southwest Regional Council of Carpenters v. Drywall Dynamics,
26 Inc., No. CV-13-272-MWF (MANx)(C.D. Cal. April2, 2013); Carpenters
27 Southwest Administrative Corporation v. Advanced Architectural Metals, Inc.,
   No. CV-07-06924 DDP (VBK.x)(C.D. Cal. December 22, 2007) (both decisions
28 attached to Shanley Dec., Ex. 7).

                                              2
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 4 of 12


 1   Texas, and Utah. See Watanabe Dec., ~2. The SWRCC's, the Board's and CSAC's
 2   offices are all headquartered in Los Angeles. Id., 3. This is where all the trust fund
 3   contributions and union dues are paid, where all the trust fund's benefits are
 4   administered from, and where all the records are held. Ibid. These factors,
 5   including the need to keep administrative costs down, explain why the parties
 6   agreed to a Forum Selection Clause requiring litigation to be held in Los Angeles.
 7   Ibid.
 8            For the past three years, Plaintiff filed reports with CSAC concerning hours
 9   worked by the SWRCC represented carpenters, as required by the agreements. Id.,
10   ~~5,    6, Ex. 8. Plaintiff also signed up for a program allowing its managers to
11   participate in the SWRCC sponsored benefit plans. Id., ~~7, 8, Ex. 9.
12            CSAC completed an audit of the Plaintiffs contributions to the Trust Funds,
13   which showed that the Plaintiffs Trust Funds contributions were delinquent. Id., ~
14   4. On March 29, 2016, Defendants' counsel sent a demand letter sent to Plaintiffs
15   counsel. Shanley Dec., Ex. 3. On April 27, 2016, Plaintiffs counsel sent letters to
16   Defendants' counsel and to the SWRCC, which, for the first time, asserted that
17   Plaintiffs "former sales representative, Tom Allen, may have signed a document. ..
18   Mr. Allen did not have actual, implied or apparent authority to bind Southwest
19   Industrial Rigging ... " Shanley Dec., Ex. 4. Plaintiff ignored the three-year delay in
20   bringing up this issue, and ignored that its managers had signed up for a separate
21   program to participate in the benefit plans based upon the agreement signed by Mr.
22   Allen.
23            Because Plaintiff refused to pay its delinquent ERISA contributions,
24   Defendants filed suit against Plaintiff in the Central District of California on
25   October 28, 2016 in the California case. Shanley Dec., Ex. 5. Defendants seek
26   damages, inter alia, for failure to pay fringe benefit contributions based upon the
27   CBA that Plaintiff entered in August 22, 2013, which incorporated by reference the
28   Trust Agreements. Ibid. In this Complaint, Defendants allege that Plaintiff was

                                                  3
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 5 of 12


 1   required to pay benefit contributions and that Plaintiff engaged workers who
 2   performed services covered by the Agreements. Ibid.
 3   After Defendant filed suit in federal court in Los Angeles County, California,
 4   Plaintiff then filed this suit in Arizona. In the Complaint, Plaintiff challenges the
 5   CBA on state law grounds and seeks to have the same CBA that is being enforced in
 6   the first-filed California declared unenforceable.
 7   III.   ARGUMENT
 8          A.    STANDARDS OF REVIEW
 9          A motion to enforce a forum-selection clause is properly raised through a
10   motion pursuant to FRCP 12(b)(3). Kukje Hwajae Ins. Co., Ltd. v. MN Hyundai
11   Liberty, 408 F.3d 1250, 1254 (9th Cir. 2005). In considering a Rule 12(b)(3)
12   motion, the Court need not accept the pleadings as true, and facts outside the
13   pleadings may properly be considered. Ibid. The same is true with respect to a
14   motion to stay. See, e.g., Inherent.com v. Martindale-Hubbell, 420 F. Supp. 2d
15   1093, 1099-1100 (N.D. Cal. 2006).
16          B.    THE CALIFORNIA CASE WAS FILED FIRST, SO THIS CASE
17                SHOULD BE DISMISSED
18          "The first-to-file rule was developed to 'serve[] the purpose of promoting
19   efficiency ... and should not be disregarded lightly."' Alltrade, Inc., 946 F.2d at 625.
20   Thus, it is "imperative to avoid concurrent litigation in more than one forum
21   whenever consistent with the rights of the parties." Crawford v. Bell, 599 F.2d 890,
22   893 (9th Cir. 1979). "Normally sound judicial administration would indicate that
23   when two identical actions are filed in courts of concurrent jurisdiction, the court
24   which first acquired jurisdiction should try the lawsuit and no purpose would be
25   served by proceeding with a second action." Pacesetter Sys. v. Medtronic, Inc., 678
26   F.2d 93, 95 (9th Cir. 1982). When this happens, the second district court dismisses
27   the second-filed action. ld., at 94.
28          The first-to-file rule "may be invoked when a complaint involving the same

                                                4
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 6 of 12


 1   parties and issues has already been filed in another district." All trade, Inc., 946 F.2d
 2   at 625.
 3           "Courts analyze three factors in determining whether to apply the first-to-file
 4   rule: (1) chronology of the actions; (2) similarity of the parties; and (3) similarity of
 5   the issues." Gunnar Optiks, LLC v. Mad Panda, LLC, 2015 U.S. Dist. LEXIS
 6   28519 at *3 (S.D. Cal. 20 15); see also All trade, Inc., 946 F .2d at 625.
 7           As mentioned, the California case was filed first on October 28, 2016,
 8   whereas this case was filed second on November 2, 2016. The fact that the two
 9   cases were filed in close time proximity to each other does not defeat the first-to-file
10   rule. The reasons for the rule are "just as valid when applied to the situation where
11   one suit precedes the other by a day as they are in a case where a year intervenes
12   between the suits." Martin v. Graybar Elec. Co. , 266 F .2d 202, 205 (7th Cir.
13   1959), quoting Crosley Corp. v. Westinghouse Elec. & Mfg. Co., 130 F.2d 474,475
14   (3d Cir. 1942). In Gunnar Optiks, the court applied the rule where there was a one
15   day difference in the dates of filing. Id., 2015 U.S. Dist. LEXIS 28519 at *3. In
16   Martin, the court applied the rule where there was a six day difference in filing
17   dates. Id., 130 F .2d at 203. Hence, the first requirement is satisfied here.
18           As to the second factor, HKB Inc. is the Plaintiff in the present case, and is
19   the Defendant (along with three of its officers) in the California case. The Board
20   and CSAC are the Defendants in this case, and are the Plaintiffs in the California
21   case.
22           Identical uniformity of parties is not necessary to satisfy this factor, and
23   inclusion of entity officers does not defeat. For instance, in Schwartz v. Frito-Lay
24   N. Am., 2012 U.S. Dist. LEXIS 188186 at *7 (N.D. Cal. 2015), this requirement
25   was satisfied where the plaintiff in the second action would have been a plaintiff in
26   the first-filed class action case. Hence, the inclusion of the officers in the California
27   case does not prevent use of the rule.
28           Regarding the third factor, similarity of issues, the issues in the two cases are

                                                  5
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 7 of 12


 1   sufficiently similar to satisfy this requirement. For instance, in Schwartz, supra, 8,
 2   while the plaintiffs complaint had "a few additional claims (negligent
 3   misrepresentation in addition to intentional misrepresentation, fraudulent
 4   concealment, and breach of implied warranty of fitness/purpose)" the court
 5   concluded that the claims in both cases were "closely related" and that this
 6   requirement was satisfied. Id. Similarly, in Gunnar Optics, supra, 3-4, there was
 7   "some difference as to the issues at stake, since the California action does not state a
 8   claim for patent infringement while the North Carolina action requests a declaration
 9   of Mad Panda's noninfringement of Gunnar's patents and a declaration of their
10   invalidity. Despite their lack of perfect congruity, the two actions need not be
11   identical, but only 'substantially similar' to satisfy the first-to-file rule." Id. In the
12   present matter, both cases result out of the same transaction and involve the same
13   Agreements; hence, they ought to be considered to be sufficiently similar.
14         The two cases seek different forms of relief in that in the California case,
15   monetary damages are sought, while in this case, Plaintiff requests declaratory relief
16   that the Memorandum is unenforceable. In Pacesetter, the "two actions differ[ed]
17   only as to the remedy sought, and we therefore conclude the first to file rule is
18   applicable." Id., 95-96. Accordingly, the court ought to conclude that this
19   requirement has been met and that this rule applies. Hence, this action ought to be
20   dismissed.
21         C.     THE COMPLAINT SHOULD BE DISMISSED UNDER RULE
22                12(B)(7) FOR FAILURE TO JOIN THE SWRCC
23         The Complaint should be dismissed because the SWRCC is an indispensable
24   party. Plaintiff admits that it was the SWRCC, not the named defendants, that Tom
25   Allen signed an agreement with that is the subject of the lawsuit. Dkt. 1, ~~7, 8. In
26   the SWRCC's absence, the agreement it is a signatory to may be held invalid by this
27   Court and this same agreement may be held valid in another forum.
28         Under Rule 19, an indispensable party is one that is subject to service of

                                                  6
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 8 of 12


 1   process and whose joinder will not deprive the court of subject-matter jurisdiction if
 2   "that person claims an interest relating to the subject of the action and is so situated
 3   that disposing of the action in the person's absence may: (i) as a practical matter
 4   impair or impede the person's ability to protect the interest; or (ii) leave an existing
 5   party subject to a substantial risk of incurring double, multiple, or otherwise
 6   inconsistent obligations because ofthe interest." FRCP 19(a)(1)(B). The SWRCC
 7   falls under both descriptions.
 8         The SWRCC, which admittedly operates in Arizona (see Dkt. 1, ~7), is
 9   subject to service of process and its joinder would not affect subject-matter
10   jurisdiction because Plaintiffs allegations against the SWRCC would be the same as
11   against the existing defendants. The SWRCC is interested in the subject of this
12   litigation because it is signatory to the agreement that is the subject of this litigation,
13   which incorporates the Master Labor Agreement. Exhibits 1 (signature page) and 6
14   to Shanley Declaration. If this Court holds that there is no contract, as Plaintiff
15   alleges, it will be a ruling that the SWRCC and its members will not have the
16   benefit of various provisions, including having the members be hired through the
17   hiring hall. Exhibit 6, Article II.
18         Additionally, disposing of the action in the absence of the SWRCC may as a
19   practical matter impair or impede the SWRCC's ability to protect the interest of not
20   having a holding against it that there is no contractual relationship between Plaintiff
21   and the SWRCC. Plaintiffs main contention in the Complaint is essentially the
22   reverse of a breach of contract claim, but both types of claims hinge on the question
23   of whether or not there is a contractual relationship. Courts have held that in breach
24   of contract claims, "all parties to the contract are necessary ones." Rojas v. Loewen
25   Group Int'l, 178 FRD 356, 361 (DPR 1998); Acton Co. ofMassachusetts v.
26   Bachman Foods, Inc., 668 F.2d 76, 78 (1st Cir. 1982)(finding that parent
27   corporation in a breach of contract action was a necessary and indispensable party to
28   the action brought against the subsidiary because the parent corporation signed the

                                                 7
      Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 9 of 12


 1   letter of intent and the purchase agreement at issue in the case). Here, too, the
 2   signatory to the Memorandum Agreement is an indispensable party that may not
 3   defend its interests and counter Plaintiffs allegations about the circumstances under
 4   which the contract was signed without being a party to the action.
 5          Further, the SWRCC's absence may leave HKB subject to a substantial risk of
 6   incurring inconsistent obligations because of the SWRCC's interest in this action. If
 7   this Court holds that there is no contractual relationship, the SWRCC may file a
 8   charge with the National Labor Relations Board, which may find that HKB
 9   committed an unfair labor practice by unilaterally repudiating the collective
10   bargaining agreement and withdrawing recognition without an election. See e.g.,
11   NLRB v. Cornerstone Builders, Inc., 963 F.2d I 075 (8th Cir. 1992)(holding that
12   such conduct violates the Nation Labor Relations Act). Therefore, because of the
13   SWRCC's absence, HKB may be subject to inconsistent determinations with respect
14   to whether there is a contractual relationship.
15          For the foregoing reasons, the Complaint should be dismissed for failure to
16   join the SWRCC, an indispensable party.
17          D.      SECTION 301 OF THE LMRA PREEMPTS PLAINTIFF'S
18                  STATE LAW CLAIMS
19          Section 301 of the Labor Management Relations Act ("LMRA"), 29 U.S.C. §
20   185, preempts any state tort claim that is "inextricably intertwined with
21   consideration of the term of the labor contract." Allis-Chalmers Corp. v. Lueck, 471
22   U.S. 202,213 (1985); see e.g., Dahl v. Rosenfeld, 316 F.3d 1074, 1077-1078 (9th
23   Cir. 2003 ).
24          Here, the Second and Third Causes of Action, which presume the existence of
25   a collective bargaining relationship, are inextricably intertwined with consideration
26   of the agreements between the parties. In the Second Cause of Action, Plaintiff
27   claims that it did not have a reasonable expectation that it would be liable for
28   approximately $490,000 in payments, even if the Memorandum Agreement applied.

                                                8
     Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 10 of 12


 1   Dkt. 1, ~~ 34-35. This cause of action depends on actually reading and interpreting
 2   the agreements that exist between the parties. The Arizona Supreme Court has
 3   explained that "the doctrine of reasonable expectations relieves a party from 'certain
 4   clauses of an agreement which he did not negotiate, probably did not read, and
 5   probably would not have understood had he read them."' Phila. Indem. Ins. Co. v.
 6   Barrera, 200 Ariz. 9, 14 (2001)(emphasis added; citing Darner Motor Sales v.
 7   Universal Underwriters Ins. Co., 140 Ariz. 383, 394 (1984)). Therefore, this cause
 8   of action by its nature is the type that requires reading the relevant portions of an
 9   agreement to determine whether the plaintiff would have understood them.
10         In this case, Plaintiff alleges that it "did not know that Defendants claimed
11   they were entitled to be paid health-care, training, vacation, and pension funds for
12   all work performed by Plaintiffs full-time permanent employees until after the
13   Union carpenter's work was completed." Dkt. 1, ~ 36. This allegation therefore
14   reveals that this cause of action requires an analysis of the CBA to make a finding
15   as to whether the requirement to pay into the Trust Funds applies even if the work is
16   being performed by Plaintiffs full-time permanent employees, and whether Plaintiff
17   would have understood this to be the case. The Second Cause of Action is therefore
18   preempted by Section 301. Lueck, 471 U.S. at 213.
19         The Third Cause of Action is also preempted by Section 301. In it, Plaintiff
20   claims that because Defendants knew or should have known for at least three years
21   that Plaintiff was not paying into the Trust Funds for work performed by its own
22   full-time, permanent employees, the demand for payment by Defendants violates
23   A.R.S. § 12-541, which requires that the demand must have been made within one
24   year of when the cause of action accrued. Dkt. 1,   ~~   40, 43, 44. The CBA would
25   therefore have to be read and analyzed to determine when the cause of action
26   accrued. For instance, the MLA provides that the contributions "shall be made by
27   each Contractor for each hour worked (or paid for) by all employees employed
28   under the terms of this Agreement." Attachment 1 of MLA at p. 63 (Exhibit 6 to

                                                9
     Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 11 of 12


 1   Shanley Declaration). This is one of the provisions to analyze with respect to
 2   whether the cause of action accrued at the time of non-payment, at the time of
 3   discovery of non-payment, or another time. The Second and Third Causes of Action
 4   therefore are preempted because "[s]ection 301 preempts all state-law causes of
 5   action evaluation of which requires interpretation of a labor contract's terms."
 6   Miller v. AT & T Network Sys., 850 F.2d 543, 545 (9th Cir. 1988).
 7         E.     THE FORUM SELECTION CLAUSE CONTROLS THE
 8                LOCATION WHERE PLAINTIFF'S CLAIMS ARE HEARD
 9         Plaintiffs Second and Third Causes of Action rest on the assumption that the
10   Memorandum Agreement signed by Tom Allen on August 22, 2013, which
11   incorporates the Master Labor Agreement ("MLA"), does in fact create a contractual
12   relationship between the SWRCC and Plaintiff. See Dkt. 1,     ~~34,   39-41, 8, 14. In
13   the Second Cause of Action, Plaintiff argues that even if the agreement applies,
14   Plaintiff did not reasonably expect to be liable for the approximately $490,000 in
15   payments which Defendants have demanded. Dkt. 1, ~ 35. In the Third Cause of
16   Action, Plaintiff contends that even if it owes the SWRCC for workers' services, the
17   demand for payment by the SWRCC is barred by the one-year statute of limitations
18   for breach of an employment contract. Dkt. 1, ~40.
19   IV.   CONCLUSION
20         For the above reasons, the Court should grant Defendant's motion to dismiss.
21
22   DATED: November 22,2016         DeCARLO & SHANLEY
                                     A Professional Corporation
23
                                     Is/ Daniel M. Shanlev
24                                   Daniel M. Shanley
                                     Attom~ys for Defendants CARPENTERS
25                                   SOUTHWEST ADMINISTRATIVE
                                     CORPORATION and BOARD OF TRUSTEES
26                                   FOR THE CARPENTERS SOUTHWEST TRUSTS
27

28

                                               10
           Case 2:16-cv-03799-DJH Document 14 Filed 11/22/16 Page 12 of 12

                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on November_&, 2016, I electronically transmitted the attached
    document, Defendants' Motion to Dismiss Pursuant to FRCP 12(b)(3),(6),(7), or, in
    the Alternative, to Stay Action, to the Clerk's Office using the CM/ECF System for
    filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
    registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com



X   I hereby certify that on November 1..)_, 2016, I served the attached document by U.S.
    Mail, postage prepaid thereon on the following, who are not registered participants of the
    CMIECF System.

          Javier Torres
          Stinson Leonard Street, LLP - Phoeniz, AZ
          1850 N. Central Avenue, Suite 2100
          Phoenix, Arizona 85004




                                          Lu~~e-Pasco, Secretary
                                          DeCARLO & SHANLEY,
                                          a Professional Corporation
                                          533 S. Fremont Avenue, Ninth Floor
                                          Los Angeles, California 90071,
                                          Telephone (213) 488-4100
                                          Telecopier (213) 488-4180
